- _ ___ uuu._. ¢" . utu-nu \_.u\.‘t\‘.\l:.t.¢

 

 

 

 

 

 

 

 

 

 

 

 

 

l. CIR./DIST./D[V. CODE 2. PERSON REPRESENTED _ OU IER N BE
TNW Case _:O§mnkBGSDBMDB Document 77 Fl|ed 05/0240§ gage 0¥ 2 Page|D 83
3. MAG. DKT./DEF. NUMBER 4. DlST. DKT./DEF. NT.NBER 5. APFEALS DKT./DEF. NU'MBER 6. OTHER DKT. NUMBER
2:03-(]203 95-002
7. IN CASEIMA'I'I'ER OF (Case Nlme) S. PAYMENT CATEGORY 9. TYPE PERSON REPRESENTED 10. RsE-PRESENTAT[ON TYPE
_ ( ge lostructiol\s)
U.S. v. Franklln Felony Adult Defendant Crtmmai Case
ll. OFFENSE(S) CHARGED (Clte U.S. Code, Til|e & Sectlon) lfmore titan one olTens¢, list (up to nv¢) major offenses charged, according to severity oi’ oil’rns§ {"] 33 o !"
1) 13 371.F -- CONSPIRACY T0 DEFRAUD THE UNITED STATES -- §§ 5_”, -“5
3a1 ";m.“"
12. ATI`ORNEY'S NAME Flrst Nnme, M.I., last Nlme, including any sumx} 13. COUR'I` ORDER n ' ‘:{ :(
AN:) MAtLtNG Am)tu§ss at o Appnmung comer Ci c co.cnuns¢i _ C 3 l
JO[-INSON! L DAN]]:<_:L [:] F Suhs For Federal Dei`ender l:] R Sl.lbs For Retaii”@@)torney N
254 Coul.[ St [i P Suhs For Psne[ Atturney l:] Y Stmdhy Coun§el ' 73
Slmc 301 Prior A:mmey's Nnme: § S; § j
Memphis TN 38103 A,, ' n..e, :<.93.3 -~
m Because the above-named person represented has testilied under oa`t§ 9 c~j
otherwise satisfied this court that he or she ‘ ci llyl unable to l l d ~,
Te|ephune Number: (901) 543-0700 (2) does not wish to waive m '- l, and h -- nler.ests ofjustic¢ ;Hf|u ¢ nn 'E_ 51

 

14. NAME AND MAIL]NG ADDRESS OF LA“' FIRM{only provide per instr'uctions)

 

 

Signit.m(ol Presiding .iudicia Oil'lcer or ly Order of the Court
ndl’)Q/')(](i‘i
Dnte of Onier Nunc Pro Tunc Date

Repmyment or partial repayment ordered from the person repnsented for this service at
time of appointment [:i YES l:i NO

 

TOTAL MATIMECH MA]H;'IEC
CA'I`EGORIES (Attach itemization ol` services with dates) CE£H,][YD CA[]E‘§?MI§B A%IHS§ED K%BWFDH AHE']JT[`]I§(WAL

 

15. a. Arraign.rnent and/or Plca

 

b. Bail and Detention Hcarings

 

c. Motion IIearings
d. Trial

e. Sentencing Hearings

 

 

 

f. Revocation Hearings

 

»-e-\=cn ='-4

g. Appeals Court
h. Other (Specil`y on additional sheets)

 

 

(Rate per hour = $ ) TOTALS:
a. Interv`tews and Conferences

 

g’\

 

b. Obtain.ing and reviewing records

 

c. Legal research and brief writing

 

d. ’I`ravei time

 

e. Invcstigative and Other work tsp¢¢-.try nn additional simon

 

 

.+.-.¢:¢n --.¢ -»I=Q -

 

(Rate per hour = $ } TOTALS:

 

 

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:-l

Travel Expeoses dodgiog, parking, meals. mileage, etc.)

 

 

 

ts. Other Expenses (uther than expert, trarucrtpts, etc.)

 

 

 

19. CERTIFICATION OF A'I"I`ORNEY!PAYEE FOR 'l`HE PERIOD OF SERVICE 20. APPOIN’I‘MENT TERMINAT!ON DATE 21. CASE DISPOSITION

 

 

 

 

 

E N

FROM TO lF OTHER THAN CAS COMPLETIO

22. CLAIM STAT'US ij Final hyment m interim l'nyrnent Number m Supplement.al Payment
Have you previously applied to the court for compensation and/or rcntimbummeot for this ease'.' [:l YES I:] NO lly¢s. were you paid? m YES g NO
Other than from the court, have you, or to your knowledge has anyone eise, received payment (cornpermn'on or anything ur value) from any other soume in connection with this
representation [i YES [] NO lryes, give details on additional shuu.

l swear or affirm the truth or correctness of the above statements.

 
 

Sigmtture of Attomey: Dntct

 

 

 

     
   

   
 
  

     

     

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28. SIGNATURE 0F 'I'HE PRESlDlNG .lUDICIAL OFFlCER DATE 28¢. JUDGE!MAG. JUI)GE CODE
29. lN COURT COMP. 30. OUT OF COURT COMP. 31. TRAVEL EXPENSES 32. OTl-IER EXPENSES 33. TOTAL AMT. AFFROVED
34. SlGNATURE OF CH[EF JUDGE, COURT OF APPEALS (OR DELEGATE)P;ym¢m DATE 342. JUDGE CODE

approved ln nos ni’the statutory threshold amouot.

 

 

 

 

 

This document entered on the docket sheet in compliance
thh P!u|e 5»‘\ and/or 32(b) FHC;P nn §;>2»{;15

    
 

UNITED sTATE D"ISIC COURT - WESTRNE D'S'TRCT 0 TESSEE

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This notice confirms a copy of the document docketed as number 77 in
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Honorable J. Breen
US DISTRICT COURT

